   20-05027-rbk Doc#10 Filed 06/05/20 Entered 06/05/20 23:29:11 Imaged Certificate of
                                   Notice Pg 1 of 3
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas
                                  San Antonio Division

                                                                       Bankruptcy Case
                                                                                       20−50805−rbk
                                                                                  No.:
                                                                          Chapter No.: 11
IN RE: Krisjenn Ranch, LLC, Krisjenn Ranch,
LLC, Series U , Debtor(s)

                                                              Adversary Proceeding No.: 20−05027−rbk
                                                                                 Judge: Ronald B. King
                                                          Krisjenn Ranch, LLC,
                                                          Krisjenn Ranch, LLC, Series
                                                          Uvalde Ranch, Krisjenn
                                                          Ranch, LLC, Series Pipeline
                                                          Row
                                                          Plaintiff
                                                     v.
                                                          DMA Properties, Inc. et al.
                                                          Defendant



                 ORDER REQUIRING STATEMENT REGARDING CONSENT
        The Court, having considered the guidance from the United States Supreme Court in Wellness Int'l Network,
Ltd. v. Sharif (In re Sharif), −−− U.S. −−−−, 135 S. Ct. 1932, 1948 n.13 (2015), finds that the following Order should
be entered.

      IT IS ORDERED AND NOTICE IS HEREBY GIVEN AS FOLLOWS:

       1. Within 21 days after the date of entry of this Order, each party in this adversary proceeding shall file and
serve a "Statement Regarding Consent."

        2. In such Statement Regarding Consent, each party shall expressly state that the party consents to entry of
final orders and a final judgment by the Court (an Article I bankruptcy judge) in this adversary proceeding, OR, that
the party does not consent to entry of final orders and a final judgment by the Court (an Article I bankruptcy judge) in
this adversary proceeding.

       3. If any party is added to, joined, or served in this adversary proceeding after the entry of this Order, such
additional party shall file and serve a separate Statement Regarding Consent at the same time as the first pleading is
filed by such additional party.
       4. Nothing contained in this Order shall constitute a finding or determination by the Court that consent of the
parties is required for the Court to enter final orders and a final judgment in this adversary proceeding.


Dated: 6/3/20
                                                                Barry D. Knight
                                                                Clerk, U. S. Bankruptcy Court
                                                                BY: Rosa Gonzalez
20-05027-rbk Doc#10 Filed 06/05/20 Entered 06/05/20 23:29:11 Imaged Certificate of
                                Notice Pg 2 of 3
                                                          [Statement Regarding Consent Order (AP)] [OstmcAPap]
         20-05027-rbk Doc#10 Filed 06/05/20 Entered 06/05/20 23:29:11 Imaged Certificate of
                                         Notice Pg 3 of 3
                                               United States Bankruptcy Court
                                                 Western District of Texas
Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
         Plaintiff                                                                                Adv. Proc. No. 20-05027-rbk
DMA Properties, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: gonzalezr                    Page 1 of 1                          Date Rcvd: Jun 03, 2020
                                      Form ID: 266                       Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 05, 2020.
3pd            +Black Duck Properties, LLC,   410 Spyglass Road,    McQueeney, TX 78123-3418
3pp             DMA Properties, Inc.,   c/o Burns & Black, PLLC,    Burns & Black, PLLC,   750 Rittiman Road,
                 San Antonio, TX 78209-5500
3pd            +John Terrill,   12712 Arrowhead Lane,    Oklahoma City, OK 73120-8829
pla             Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series U,    410 Spyglass Rd,
                 McQueeney, TX 78123-3418
3pd            +Larry Wright,   410 Spyglass Road,    McQueeney, TX 78123-3418
dft             Longbranch Energy, LP,   c/o Burns & Black, PLLC,    Burns & Black, PLLC,    750 Rittiman Road,
                 San Antonio, TX 78209-5500

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp            E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jun 04 2020 00:35:39     U.S. Trustees Office,
                 P. O. Box 1539,   San Antonio, TX 78295-1539
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust*              U.S. Trustees Office,   P. O. Box 1539,   San Antonio, TX 78295-1539
dft*              DMA Properties, Inc.,   c/o Burns & Black, PLLC,    Burns & Black, PLLC,                        750 Rittiman Road,
                   San Antonio, TX 78209-5500
cd*               Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series U,    410 Spyglass Rd,
                   McQueeney, TX 78123-3418
                                                                                                                    TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 05, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 3, 2020 at the address(es) listed below:
              Austin Hammer Krist   on behalf of Defendant   DMA Properties, Inc. akrist@clevelandterrazas.com
              Charles John Muller, IV   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Ronald J. Smeberg   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
                                                                                            TOTAL: 3
